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                            UNITED STATES DISTRICT COURT

                             DISTRICT OF OREGON (EUGENE)


 JEFFREY SCOTT OTTO,                                               CASE NO. 6:21-cv-00379-AA
           Plaintiff,

          vs.                                                TRANS UNION, LLC’S RULE 7.1
                                                                CORPORATE DISCLOSURE
 TRANSUNION, LLC; EQUIFAX                                                   STATEMENT
 INFORMATION SERVICES, LLC;
 EXPERIAN INFORMATION SOLUTIONS,
 INC.; WELLS FARGO BANK, NATIONAL
 ASSOCIATION; DISCOVER BANK;
 CENTRAL WILLAMETTE CREDIT
 UNION; JPMORGAN CHASE BANK,
 NATIONAL ASSOCIATION; and DOES 1
 THROUGH 100 inclusive;
            Defendants.


         Defendant Trans Union LLC, by counsel, pursuant to Rule 7.1 of the Federal Rules of

Civil Procedure, states as follows:

         Trans Union LLC is a wholly owned subsidiary of TransUnion Intermediate Holdings, Inc.

TransUnion Intermediate Holdings, Inc. is wholly owned by TransUnion. TransUnion is a

publicly traded entity with the ticker symbol TRU. Investment funds affiliated with T. Rowe Price

Group, Inc., a publicly-traded entity with the ticker symbol TROW, own more than 10 percent of

TransUnion’s stock.


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                                             Respectfully submitted,


                                             MOTSCHENBACHER & BLATTNER,
                                             LLP


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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 16th day of April, 2021. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

electronic filing.

 Kyle W. Schumacher, Esq.
 kyle@schumacherlane.com

         The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the _______ day of

____________________, 2021, properly addressed as follows:

 None




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